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 7 Counsel for Plaintiff Anne Levitt
 8 and the Putative Class
 9
10                       UNITED STATES DISTRICT COURT
11                    WESTERN DISTRICT OF WASHINGTON
12      ANNE LEVITT, individually and           Case No.: 2:20-cv-01154
13      on behalf of others similarly
        situated,                               CLASS ACTION
14
15                  Plaintiff,                  COMPLAINT FOR DAMAGES
16                                              AND INJUNCTIVE RELIEF
        v.                                      PURSUANT TO THE
17                                              TELEPHONE CONSUMER
        HAVE A HEART                            PROTECTION ACT, 47 U.S.C. §
18      COMPASSION CARE, INC.                   227 ET SEQ.
19      d/b/a A CANNABIS STOREY,
20                                              Jury Trial Demanded
                    Defendant.
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 1                                    INTRODUCTION
 2 1.     Anne Levitt (“Plaintiff”), brings this action for damages, injunctive relief, and
 3        any other available legal or equitable remedies, resulting from the illegal actions
 4        of Have a Heart Compassion Care, Inc. d/b/a A Cannabis Storey (“Defendant”),
 5        in negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s
 6        cellular telephone, in violation of the Telephone Consumer Protection Act, 47
 7        U.S.C. § 227, et seq., (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff
 8        alleges as follows upon personal knowledge as to her own acts and experiences
 9        and, as to all other matters, upon information and belief, including investigation
10        conducted by Plaintiff’s attorneys.
11 2.     The TCPA was designed to prevent calls and messages like the ones described
12        within this complaint and to protect the privacy of citizens like Plaintiff.
13        “Voluminous consumer complaints about abuses of telephone technology—for
14        example, computerized calls dispatched to private homes—prompted Congress
15        to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
16 3.     In enacting the TCPA, Congress intended to give consumers a choice as to how
17        creditors and telemarketers may call them, and made specific findings that
18        “[t]echnologies that might allow consumers to avoid receiving such calls that are
19        not universally available, are costly, are unlikely to be enforced, or place an
20        inordinate burden on the consumer.” TCPA, Pub.L. No. 102-243, § 11. Toward
21        this end, Congress found that:
22                    Banning such automated or prerecorded telephone calls to the
                      home, except when the receiving party consents to receiving
23                    the call or when such calls are necessary in an emergency
24                    situation affecting the health and safety of the consumer, is the
                      only effective means of protecting telephone consumers from
25
                      this nuisance and privacy invasion.
26        Id. at § 12; see also, Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
27        3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing Congressional finding on
28        TCPA’s purpose).
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 1 4.     Congress also specifically found that “the evidence presented to the Congress
 2        indicates that automated or prerecorded calls are a nuisance and an invasion of
 3        privacy, regardless of the type of call […].” Id. at §§ 12-13. See also, Mims, 132
 4        S. Ct. at 744.
 5 5.     As Judge Easterbrook of the Seventh Circuit explained in a TCPA case regarding
 6        calls similar to this one:
 7
                      The Telephone Consumer Protection Act […] is well known
 8                    for its provisions limiting junk-fax transmissions. A less
 9                    litigated part of the Act curtails the use of automated dialers
                      and prerecorded messages to cell phones, whose subscribers
10                    often are billed by the minute as soon as the call is answered –
11                    and routing a call to voicemail counts as answering the call.
                      An automated call to a landline phone can be an annoyance;
12
                      an automated call to a cell phone adds expense to annoyance.
13        Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
14 6.     Plaintiff brings this case as a class action seeking damages for herself and all
15        others similarly situated.
16                                JURISDICTION & VENUE
17 7.     This Court has federal question jurisdiction because this case arises out of
18        violation of federal law: the TCPA, 47 U.S.C. § 227 et seq.
19 8.     Because Defendant conducts business within the State of Washington, personal
20        jurisdiction is established. In addition, Defendant intentionally and voluntarily
21        directed its phone calls at Plaintiff, a Bothell, Washington resident, and this
22        action arises from this contact with the forum.
23 9.     Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons (i)
24        Plaintiff resides in the County of King, State of Washington, which is within this
25        judicial district; (ii) the conduct complained herein occurred within this judicial
26        district; and (iii) Defendant conducted business within this judicial district at all
27        times relevant.
28

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 1                               PARTIES & DEFINITIONS
 2 10.    Plaintiff is, and at all times mentioned herein was, a natural person residing in the
 3        County of King, in the State of Washington.
 4 11.    Defendant is, and at all times mentioned herein, was a Washington corporation
 5        headquartered in Seattle, WA. Defendant is authorized to and regularly conducts
 6        business within the State of Washington.
 7 12.    Defendant is, and at all times mentioned herein was, a “person” as defined by 47
 8        U.S.C. §153 (39).
 9                                           FACTS
10 13.    Plaintiff is, and has been at all times relevant to this action, the regular and sole
11        user of her cellular telephone number—(908) 770-XXXX.
12 14.    Plaintiff is not a customer of Defendant, nor has Plaintiff ever done business with
13        Defendant. Plaintiff never sought Defendant’s business and did not authorize any
14        pre-recorded or automated robotic calls or text messages to her cellular number.
15 15.    Nonetheless, on or about May 27, 2020 at approximately 8:10 PM, Defendant
16        sent Plaintiff an unsolicited, automated text message to Plaintiff’s cellular
17        telephone number from the number (206) 737-1159.
18 16.    Despite Plaintiff not responding to the May 27, 2020 text message from
19        Defendant, Defendant sent another text at approximately 8:14 PM on May 30,
20        2020 to Plaintiff’s cellular telephone number from the number (206) 737-1159.
21 17.    Plaintiff replied “STOP” to the May 30 text message in an attempt to prevent any
22        further harassment from Defendant.
23 18.    A true and correct copy of the May 27, 2020 May 30, 2020 text messages sent by
24        Defendant are reproduced below:
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26
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     19.   The website link in the text message (http://bit.ly/ACSOnline) directs to a page
19
           on Defendant’s website, which users browse items available for sale online.
20
     20.   Defendant initiated telephonic communications to Plaintiff’s cellular telephone.
21
           Plaintiff found these communications excessive, inconvenient, harassing, and
22
           placed in complete disregard of Plaintiff’s privacy.
23
     21.   Plaintiff requested Defendant cease all of the autodialed communications with
24
           Plaintiff.
25
     22.   Plaintiff did not give Defendant prior express written consent to send text
26
           messages to her cellular telephone number by using an automatic telephone
27
           dialing system.
28

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 1 23.    The text message Defendant sent to Plaintiff consisted of pre-written templates
 2        of impersonal text and was identical to text messages Defendant sent to other
 3        consumers.
 4 24.    The language in the message was automatically generated and inputted into pre-
 5        written text template without any actual human intervention in the drafting or
 6        sending of the messages; the same exact messages were sent to thousands of other
 7        consumers.
 8 25.    The telephone system Defendant used to send the message constitutes an ATDS
 9        as defined by 47 U.S.C. § 227(a)(1).
10 26.    Upon information and good faith belief, and in light of the nature and character
11        of the text message at issue—standardized, impersonal, and consistent in
12        structure and format—the advertisement and marketing text messages at issue
13        were sent by using “equipment which has the capacity—(1) to store numbers to
14        be called or (2) to produce numbers to be called, using a random or sequential
15        number generator—and to dial such numbers automatically (even if the system
16        must be turned on or triggered by a person).” Marks v. Crunch San Diego, LLC,
17        904 F.3d 1041, 1053 (9th Cir. 2018).
18 27.    Upon information and belief, no human directed the text message to Plaintiff’s
19        number.
20 28.    In addition, upon information and belief, the hardware and software combination
21        utilized by Defendant has the capacity to store and dial sequentially generated
22        numbers, randomly generated numbers or numbers from a database of numbers.
23 29.    Defendant did not have Plaintiff’s prior express consent to place automated text
24        messages to Plaintiff on her cellular telephone.
25 30.    Receipt of Defendant’s unauthorized message drained Plaintiff’s phone battery
26        and caused Plaintiff additional electricity expenses and wear and tear on her
27        phone and battery.
28 31.    Defendant did not place the text message for an emergency purpose.
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 1 32.     Through the aforementioned conduct, Defendant violated 47 U.S.C. §
 2         227(b)(1)(A)(iii).
 3                                         STANDING
 4
     33.   Standing is proper under Article III of the Constitution of the United States of
 5
           America because Plaintiff’s claims state: (a) a valid injury in fact; (b) which is
 6
           traceable to the conduct of Defendant; and (c) is likely to be redressed by a
 7
           favorable judicial decision. See, Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1547
 8
           (2016); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).
 9
            The “Injury In Fact” Prong
10
     34.   Plaintiff’s injury in fact must be both “concrete” and “particularized” in order to
11
           satisfy the requirements of Article III of the Constitution, as articulated in Spokeo.
12
           Spokeo, 136 S.Ct. at 1547.
13
     35.   For an injury to be “concrete” it must be a de facto injury, meaning that it actually
14
           exists. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir.
15
           2012). In this case, Defendant sent a text message to Plaintiff’s cellular telephone,
16
           using an ATDS. Such text messages are a nuisance, an invasion of privacy, and
17
           an expense to Plaintiff. All three of these injuries are concrete and de facto.
18
     36.   For an injury to be “particularized” means that the injury must “affect the Plaintiff
19
           in a personal and individual way.” Spokeo, Inc., 136 S.Ct. at 1543. In this case,
20
           Defendant invaded Plaintiff’s privacy and peace by texting her cellular telephone,
21
           and did this with the use of an ATDS. Furthermore, Plaintiff was distracted and
22
           annoyed by having to take time, opening and reading the text messages. All of
23
           these injuries are particularized and specific to Plaintiff and will be the same
24
           injuries suffered by each member of the putative class.
25
26
     //
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     //
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 1        The “Traceable to the Conduct of Defendant” Prong
 2 37.    The second prong required to establish standing at the pleadings phase is that
 3        Plaintiff must allege facts to show that its injuries are traceable to the conduct of
 4        Defendant.
 5 38.    The above text messages were directly and explicitly linked to Defendant. The
 6        number from which the text was sent belongs to Defendant. These text messages
 7        are the sole source of Plaintiff’s and the Class’s injuries. Therefore, Plaintiff has
 8        illustrated facts that show that her injuries are traceable to the conduct of
 9        Defendant.
10        The “Injury is Likely to be Redressed by a Favorable Judicial Opinion”
11        Prong
12 39.    The third prong to establish standing at the pleadings phase requires Plaintiff to
13        allege facts to show that the injury is likely to be redressed by a favorable judicial
14        opinion.
15 40.    In the present case, Plaintiff’s Prayers for Relief include a request for damages
16        for each text message made by Defendant, as authorized by statute in 47 U.S.C.
17        § 227. The statutory damages were set by Congress and specifically redress the
18        financial damages suffered by Plaintiff and the members of the putative class.
19 41.    Because all standing requirements of Article III of the U.S. Constitution have
20        been met, Plaintiff has standing to sue Defendant on the stated claims.
21                            CLASS ACTION ALLEGATIONS
22 42.    Plaintiff brings this action under Federal Rule of Civil Procedure 23, and as a
23        representative of the following class:
24
                 All persons throughout the United States (1) to whom
25               Defendant delivered, or caused to be delivered, a text
26               message, (2) directed to a number assigned to a cellular
                 telephone service, (3) by using an automatic telephone
27               dialing system, (4) within four years preceding the date of
28               this complaint through the date of class certification.

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 1 43.    Excluded from the class are Defendant, its officers and directors, members of
 2        their immediate families and their legal representatives, heirs, successors, or
 3        assigns, and any entity in which Defendant has or had a controlling interest.
 4 44.    Plaintiff reserves the right to redefine the classes and to add subclasses as
 5        appropriate based on discovery and specific theories of liability.
 6 45.    Numerosity: Upon information and belief, the members of the class are so
 7        numerous that joinder of all of them is impracticable.
 8 46.    The exact number of the members of the class is unknown to Plaintiff at this time
 9        and can (and will) be determined through appropriate discovery. However, given
10        that, on information and belief, Defendant texted thousands of class members
11        nationwide during the class period, it is reasonable to presume that the members
12        of the Class are so numerous that joinder of all members is impracticable. The
13        disposition of the claims in a class action will provide substantial benefits to the
14        parties and the Court.
15 47.    Ascertainability: The members of the class are ascertainable because the class is
16        defined by reference to objective criteria.
17 48.    In addition, the members of the class are identifiable in that, upon information
18        and belief, their cellular telephone numbers, names and addresses can be
19        identified in business records maintained by Defendant and by third parties.
20 49.    Typicality: Plaintiff’s claims are typical of the claims of the members of the class.
21        Plaintiff has had to suffer the burden of receiving text messages to her cellular
22        telephone from an ATDS. Thus, her injuries are typical to Class Members. As it
23        did for all members of the class, Defendant used an ATDS to deliver a text
24        message to Plaintiff’s cellular telephone number.
25 50.    Plaintiff’s claims, and the claims of the members of the class, originate from the
26        same conduct, practice and procedure on the part of Defendant.
27 51.    Plaintiff’s claims are based on the same theories, as are the claims of the members
28        of the class.
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 1 52.    Plaintiff and Class Members were harmed by the acts of Defendant in at least the
 2        following ways: Defendant harassed Plaintiff and Class Members by illegally
 3        texting their cellular phones using an ATDS. Plaintiff and the Class were
 4        damaged thereby.
 5 53.    Adequacy: Plaintiff is qualified to, and will fairly and adequately protect the
 6        interests of the members of the class with whom he is similarly situated, as
 7        demonstrated herein. Plaintiff acknowledges that he has an obligation to make
 8        known to the Court any relationships, conflicts, or differences with any Class
 9        Member.
10 54.    Plaintiff’s interests in this matter are not directly or irrevocably antagonistic to
11        the interests of the members of the class.
12 55.    Plaintiff will vigorously pursue the claims of the members of the class.
13 56.    Plaintiff has retained counsel experienced and competent in class action
14        litigation. Plaintiff’s attorneys, the proposed class counsel, are versed in the rules
15        governing class action discovery, certification, and settlement. In addition, the
16        proposed class counsel is experienced in handling clams involving consumer
17        actions and violations of the TCPA.
18 57.    Plaintiff’s counsel will vigorously pursue this matter.
19 58.    Plaintiff’s counsel will assert, protect and otherwise represent the members of the
20        class.
21 59.    Plaintiff has incurred, and throughout the duration of this action, will continue to
22        incur costs and attorneys’ fees that have been, are, and will be, necessarily
23        expended for the prosecution of this action for the substantial benefit of each
24        Class Member.
25 60.    Predominance: The questions of law and fact common to the members of the
26        class predominate over questions that may affect individual members of the class.
27        The elements of the legal claims brought by Plaintiff and Class Members are
28        capable of proof at trial through evidence that is common to the Class rather than
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 1          individual to its members.
 2 61.      Commonality: There are common questions of law and fact as to all members of
 3          the Class, including but not limited to the following:
 4          a.     What is Defendant’s conduct, pattern, and practice as it pertains to
 5 delivering advertisement and telemarketing text messages;
 6          b.     Whether, within the statutory period, Defendant used an ATDS as
 7 defined by the TCPA to send text messages to Class Members;
 8          c.     Whether Defendant’s conduct violated the TCPA;
 9          d.     Whether Defendant should be enjoined from engaging in such conduct
10 in the future; and
11          e.     The availability of statutory penalties.
12 62.      Superiority: A class action is superior to all other available methods for the fair
13          and efficient adjudication of this matter because:
14          •      If brought and prosecuted individually, the claims of the members of the
15 class would require proof of the same material and substantive facts.
16          •      The pursuit of separate actions by individual members of the class would,
17 as a practical matter, be dispositive of the interests of other members of the class, and
18 could substantially impair or impede their ability to protect their interests.
19          •      The pursuit of separate actions by individual members of the class could
20 create a risk of inconsistent or varying adjudications, which might establish
21 incompatible standards of conduct for Defendant.
22          •      These varying adjudications and incompatible standards of conduct, in
23 connection with presentation of the same essential facts, proof, and legal theories, could
24 also create and allow the existence of inconsistent and incompatible rights within the
25 class.
26          •      The damages suffered by each individual member of the class may be
27 relatively modest, thus, the expense and burden to litigate each of their claims
28 individually make it difficult for the members of the class to redress the wrongs done

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 1 to them.
 2        •      Absent a class action, most Class Members would likely find the cost of
 3 litigating their claims prohibitively high and would therefore have no effective remedy
 4 at law.
 5        •      The pursuit of Plaintiff’s claims, and the claims of the members of the
 6 class, in one forum will achieve efficiency and promote judicial economy.
 7        •      There will be little difficulty in the management of this action as a class
 8 action.
 9 63.    Defendant has acted or refused to act on grounds generally applicable to the
10        members of the class, making final declaratory or injunctive relief appropriate.
11 64.    Plaintiff and the Class Members have all suffered and will continue to suffer harm
12        and damages as a result of Defendant’s unlawful conduct.
13 65.    This suit seeks only damages and injunctive relief for recovery of economic
14        injury on behalf of Class Members and it expressly is not intended to request any
15        recovery for personal injury and claims related thereto.
16                                         COUNT I
17                 Violations of the Telephone Consumer Protection Act
18                               47 U.S.C. § 227(b)(1)(A)(iii)
19                      (On behalf of Plaintiff and the TCPA Class)
20 66.    Plaintiff incorporates herein all preceding factual allegations.
21 67.    Defendant and/or its agents placed unsolicited text messages to Plaintiff’s
22        cellular telephone and the other members of the TCPA Class using an ATDS.
23 68.    Defendant made these text messages en masse without the consent of Plaintiff
24        and the other members of the TCPA Class.
25 69.    Defendant’s conduct was negligent, or willful or knowing.
26 70.    Defendant has, therefore, violated 47 U.S.C. § 227(b)(1). As a result of
27        Defendant’s conduct, Plaintiff and the other members of the TCPA Class are each
28        entitled to a minimum of $500 in damages, and up to $1,500 in damages, for each
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 1        violation.
 2 71.    Plaintiff and members of the putative TCPA class are also entitled to and do seek
 3        injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other
 4        persons or entities acting on Defendant’s behalf from violating the TCPA, 47
 5        U.S.C. § 227, by sending texts, except for emergency purposes, to any cellular
 6        telephone numbers using an ATDS in the future.
 7 72.    Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) and 47 C.F.R. § 64.1200(a)(2)
 8        by utilizing an ATDS to make advertising and marketing texts to Plaintiff’s
 9        cellular telephone number without prior express written consent.
10 73.    As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1)(A)(iii) and 47
11        C.F.R. § 64.1200(a)(2), Plaintiff, and the members of the class, are entitled to
12        damages in an amount to be proven at trial.
13                                PRAYER FOR RELIEF
14        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
15                                         COUNT I
16                 Violations of the Telephone Consumer Protection Act
17                               47 U.S.C. § 227(b)(1)(A)(iii)
18                      (On behalf of Plaintiff and the TCPA Class)
19            a) Determining that this action is a proper class action;
20            b) Designating Plaintiff as a class representative under Federal Rule of Civil
21               Procedure 23;
22            c) Designating Plaintiff’s counsel as class counsel under Federal Rule of
23               Civil Procedure 23;
24            d) Adjudging and declaring that Defendant violated 47 U.S.C. §
25               227(b)(1)(A)(iii);
26            e) Enjoining Defendant from continuing its violative behavior, including
27               continuing to deliver text messages to Plaintiff’s cellular telephone
28

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 1               number, and to the cellular telephone numbers of the members of the class,
 2               without prior express written consent;
 3            f) Awarding Plaintiff and the members of the class damages under 47 U.S.C.
 4               § 227(b)(3)(B) in the amount of $500.00 per unlawful text message to
 5               Plaintiff, and each class member;
 6            g) Awarding Plaintiff and the members of the class treble damages under 47
 7               U.S.C. § 227(b)(3)(C);
 8            h) Awarding Plaintiff and the class reasonable attorneys’ fees, costs, and
 9               expenses under Rule 23 of the Federal Rules of Civil Procedure;
10            i) Awarding Plaintiff and the members of the class any pre-judgment and
11               post-judgment interest as may be allowed under the law; and
12            j) Awarding such other and further relief as the Court may deem just and
13               proper.
14                              DEMAND FOR JURY TRIAL
15 74.    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by
16        jury of any and all triable issues
17
18                                                  KAZEROUNI LAW GROUP, APC
19
20 Date: July 28, 2020                                  By: s/ Abbas Kazerounian
21                                                            Abbas Kazerounian, Esq.
                                                              Attorneys for Plaintiff
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